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11                                   UNITED STATES DISTRICT COURT

12                                NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN FRANCISCO DIVISION

14    UNITED STATES OF AMERICA,                           Criminal No. 3:21-CR-00155-JD

15           Plaintiff,                                   STIPULATION TO EXCLUDE
                                                          TIME FROM NOVEMBER 1, 2021
16                                                        THROUGH JANUARY 24, 2022 AND
                            v.                            [PROPOSED] ORDER
17
      CARLOS E. KEPKE,
18
             Defendant.
19

20          It is hereby stipulated by and between counsel for the United States and counsel for the

21 Defendant Carlos E. Kepke, that time be excluded under the Speedy Trial Act from November 1, 2021

22 through January 24, 2022.

23          At the status conference held on November 1, 2021, the government and counsel for Defendant

24 agreed that time be excluded under the Speedy Trial Act so that defense counsel could continue to

25 prepare, including by reviewing the discovery that has been produced. The government and counsel for

26 Defendant further hereby stipulate and agree that this matter is complex, as defined in 18 U.S.C. §

27 3161(h)(7)(B)(ii), due to the breadth and duration of the conduct alleged in the Indictment, and the fact

28
      STIPULATION TO EXCLUDE TIME FROM NOVEMBER      1
      1, 2021 THROUGH JANUARY 24, 2022 AND
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 1 that the discovery is voluminous.

 2          For these reasons, and as further stated on the record at the status conference, the parties stipulate

 3 and agree to exclude time until January 24, 2022, and further stipulate and agree that the ends of justice

 4 served by excluding the time from November 1, 2021 through January 24, 2022 from computation under

 5 the Speedy Trial Act outweighs the best interests of the public and Defendant in a speedy trial. 18

 6 U.S.C. §§ 3161(h)(1)(D), (h)(7)(A), (h) (7)(B)(ii), (h)(7)(B)(iv).

 7          The undersigned Assistant United States Attorney certifies that he has obtained approval from

 8 counsel for Defendant to file this stipulation and proposed order.

 9

10 IT IS SO STIPULATED.

11                                                         STEPHANIE M. HINDS
                                                           Acting United States Attorney
12
                                                           s/ Michael G. Pitman
13                                                         MICHAEL G. PITMAN
                                                           Assistant United States Attorney
14                                                         COREY J. SMITH
                                                           Senior Litigation Counsel
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                                                           Attorneys for United States of America
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17                                                         s/ Grant P. Fondo
18                                                         GRANT P. FONDO

19                                                         Attorney for Defendant Carlos E. Kepke

20

21                                            [PROPOSED] ORDER
22          Based upon the facts set forth in the stipulation of the parties and the representations made to the
23 Court on November 1, 2021 and for good cause shown, the Court finds that time should be excluded

24 from November 1, 2021 through January 24, 2022 under the Speedy Trial Act because of the complexity

25 of the case, and also that failing to exclude the time from November 1, 2021 through January 24, 2022

26 would unreasonably deny defense counsel and Defendant the reasonable time necessary for effective

27 preparation, taking into account the exercise of due diligence. 18 U.S.C. §§ 3161(h)(1)(D), (h)(7)(A),

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     STIPULATION TO EXCLUDE TIME FROM NOVEMBER        2
     1, 2021 THROUGH JANUARY 24, 2022 AND
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 1 (h) (7)(B)(ii), (h)(7)(B)(iv). The Court further finds that the ends of justice served by excluding the time

 2 from November 1, 2021 to January 24, 2022 from computation under the Speedy Trial Act outweigh the

 3 best interests of the public and Defendant in a speedy trial. Therefore, and with the consent of the

 4 parties, IT IS HEREBY ORDERED that the time from November 1, 2021 through January 24, 2022

 5 shall be excluded from computation under the Speedy Trial Act.

 6

 7 IT IS SO ORDERED.

 8

 9 DATED: ___________________                                    ___________________________
                                                                 JAMES DONATO
10                                                               United States District Judge
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     STIPULATION TO EXCLUDE TIME FROM NOVEMBER       3
     1, 2021 THROUGH JANUARY 24, 2022 AND
     [PROPOSED] ORDER
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